Case 7:21-cv-00471-TTC Document 4 Filed 09/23/21 Pagelof5 Pageid#: 152

IN THE UNITED STATES DISCTRICT COURT

FOR THE WESTERN DISTRICT OF VIRGINIA.
CLERK'S OFFICE US. DIST. COURT

ROANOKE DIVSION AT ROANOKE, VA
SEP 23 2021
JULIA C, DUDLEY,
ALLEGHANY COUNTY ) BY: NA Cope
BOARD OF SUPERVISORS ) NO: 7:21-cv-00471 DEPUTY CLERK
Plaintiff, ) NOTICE OF APPEAL
) PURSUANT
) 28 U.S.C. §1443 & §1447(d),
)
V. )
)
)
DONNIE T.A.M. KERN )
)
Defendant, Pro Se. )
NOTICE OF APPEAL

PLEASE TAKE NOTICE that the Respondent, Donnie T.A.M. Kern, Pro Se
hereby appeals to the United States Court of Appeals for the Fourth Circuit from the
final judgement in this action and from the order of this court entered sua sponte on
the 13 day of September 2021 by the Honorable U.S. District Court Judge Thomas
Cullen remanding the defendant’s Notice of Removal which was filed on the 10 day

of September 2021 pursuant 28 U.S.C. §1331, §1441, §1443, and §1446(b)(3).

 
Case 7:21-cv-00471-TTC Document 4 Filed 09/23/21 Page 2of5 Pageid#: 153

The appeal of the order of this court is being done timely, in good faith, and in the
best interest of justice due to conflicting interpretation and intent of the United States
Supreme Court, and United States Congress in regards to 28 U.S.C. §1331, §1441,
§1443, §1446 by and between the Honorable U.S. District Court Judge Thomas

Cullen and the defendant and the paramount application to the case at hand.

The defendant commends graciously the Honorable Judge Thomas Cullen for
his remarkable patience, kindness and compassion that he has provided the
defendant regarding this case. The defendant humbly and mercifully thanks the
Honorable Judge Thomas Cullen in advance for his continued exemplary virtues

during this appeal.

al

Donnie 1A.M. Kern, Pro Se
Defendant
145 Church Street

Clifton Forge, Virginia 24422
quilltaxation@gmail.com
540-958-4958

 
Case 7:21-cv-00471-TTC Document 4 Filed 09/23/21 Page 3o0f5 Pageid#: 154

CERTIFICATE OF SERVICE

 

I certify that a true and exact copy of the foregoing and enclosure of the filing fee
was mailed to:

Honorable Julia C. Dudley

U.S. District Court, Western District of Virginia Clerk of Court
210 Franklin Road S.W.

Suite 540

Roanoke, VA 24011-2208

on this the & A. day of September 2021

&

I certify that a true and exact copy of the foregoing was mailed to:

George Matt Garten

In Official Capacity of Chairman
Alleghany County Board of Supervisors
9212 Winterberry Avenue

Covington, Virginia 24426

&

Jim H. Guynn, Jr.

Guynn, Waddell, Carroll & Lockaby, P.C.

Counsel for the Alleghany County Board of Supervisors
415 S. College Avenue

Salem, Virginia 24153

jimg(@guynnwaddell.com
540-387-2320
Case 7:21-cv-00471-TTC Document 4 Filed 09/23/21 Page 4of5 Pageid#: 155

on this the &, m4 day of September 2021

  
  

 

.M. Kern, Pro Se

Church Street

Clifton Forge, Virginia 24422
quilltaxation@gmail.com
540-958-4958

 
 

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